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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

In re:

PHILADELPHIA HAITIAN BAPTIST CHURCH                           Case No.: 6:18-bk-01091-CCJ
OF ORLANDO, INC.,
                                                              Chapter 11
            Debtor.
________________________________________/


                             TMI TRUST COMPANY’S AND OSK I, LLC’S
                              MOTION TO DISMISS CHAPTER 11 CASE

              TMI Trust Company, a Texas trust company, as successor by merger to Reliance Trust

Company, a Georgia bank and trust company, in its capacity as Trustee for the First Mortgage

Bonds, 2007 Series, dated November 28, 2007 (“TMI”), and OSK I, LLC, as the successor in

interest to San Joaquin Bank, formerly a California corporation (“OSK,” and together with TMI,

the “Lender”), secured creditors in this Chapter 11 case, file this Motion to Dismiss the Chapter

11 voluntary petition of the of the Debtor, Philadelphia Haitian Baptist Church, Inc. (the

“Debtor”), pursuant to 11 U.S.C. § 1112, for cause, because the Debtor did not file its petition in

good faith, and in support thereof says:

         I.          Introduction

              The Debtor’s February 28, 2018 Chapter 11 voluntary petition is just its latest attempt to

thwart the Lender’s legitimate and justifiable efforts to protect its collateral, comprised of the

Debtor’s sanctuary and related properties, and to foreclose its mortgage interest in the Debtor’s

property. Driven exclusively by the Debtor’s serial and consistent practice of delinquencies and

defaults, and notwithstanding the Lender’s extraordinarily patient efforts to accommodate the




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Debtor, the Lender and the Debtor have been in protracted litigation for nearly ten years, in

multiple cases and courts.

         Throughout the sequential court actions the Lender has expended significant effort to

accommodate the Debtor and to facilitate its payment of its debt to the Lender. The most recent

state court litigation resulted in a mediated resolution of the Lender’s then-pending foreclosure

action against the Debtor, which called for monthly payments to the Lender with no provision for

late payment or an opportunity to cure. It was agreed that failure to make a timely payment

would result in immediate entry of a consent judgment of foreclosure. After this resolution the

Debtor defaulted and a consent judgment of foreclosure was entered and is now final and non-

appealable. On the eve of the foreclosure sale of the property the Debtor filed its most recent

Chapter 11 voluntary petition, hoping to once again forestall the Lender from obtaining title to its

collateral, which secures a debt that has been in default for nearly a decade. Through this motion

the Lender now seeks to end the Debtor’s abuse of the legal process and drain on the Court’s

resources and to obtain title to the property on behalf of its bondholders, who have received only

two interest payments in ten years while suffering a 32% reduction in the principal amount of

their investment.

      II.       Background Facts Supporting Dismissal

         1.     In 2007, in an effort to reorganize its long-term debt, the Debtor arranged for

financing through the issuance of a series of bonds, known as the $5,355,000 First Mortgage

Bonds, 2007 Series, dated November 28, 2007 (the “Bonds”). TMI’s predecessor in interest was

named as Trustee under the trust indenture (the “Indenture”) in connection with the Bonds, and

the financed indebtedness was secured by a mortgage (the “Mortgage”) against substantially all

of the Debtor’s assets, including its sanctuary and related properties (collectively, the



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“Property”). In return for the Mortgage, the Debtor received $5,355,000 in proceeds, which it

used to refinance its existing indebtedness.

         2.      The Bonds were issued in 20071, but the Debtor almost immediately began its

now common practice of delinquency in making monthly sinking fund payments under the terms

of the Indenture. The Debtor defaulted on its May 1, 2008 payment, and although the Lender

served the Debtor with a notice of default it then worked with the Debtor for over a year trying to

reinstate payments and bring the Bond indebtedness current.

         3.      When the Debtor made no progress toward repayment after a year, the Lender

filed its first foreclosure action in the case styled Reliance Trust Company, etc. v. Philadelphia

Haitian Baptist Church of Orlando, Inc. etc., et al.; Circuit Court, Orange County, Florida; Case

No. 2009-CA-029326-O (the “First Foreclosure Case”).

         4.      After filing the First Foreclosure Case the Debtor and the Lender entered into five

separate forbearance agreements spanning nearly five years, all with the intent that the Debtor

might bring its obligations current and reinstate its obligations under the Bonds.

         5.      Despite the Lender’s (and the state court’s) extraordinary patience and effort

during that forbearance period, after nearly five years the state court in the First Foreclosure Case

ordered the Lender to either proceed with its foreclosure or dismiss its case. Bound by its

fiduciary duty to its bondholders and given that the Debtor was still unable to bring its

obligations under the Indenture current, the Lender moved for summary judgment in the First

Foreclosure Case.




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  The transaction was structured such that a bank made the initial loan and funds advance, which bank then became
the initial holder of the Bonds. All of the indebtedness was secured pari passu by the Mortgage. As each Bond was
sold, the bank loan was paid down with sale proceeds and the indebtedness was shifted to the Bonds under the
Indenture. Most of the Bonds were sold, but a few were still held by the bank, which failed and was taken over by
the FDIC. The promissory note was subsequently acquired by OSK I, LLC.

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         6.     Before the summary judgment could be heard, the Debtor filed its first Chapter 11

voluntary petition in the case styled In re Philadelphia Haitian Baptist Church of Orlando, Inc.,

Debtor; United States Bankruptcy Court, Middle District of Florida, Orlando Division; Case No.

6:14-bk-6667-CCJ (the “First Bankruptcy Case”). As of the filing date of the First Bankruptcy

Case, the Debtor owed the Lender $7,700,717.63, of which the entire $5,355,000 principal

balance remained unpaid and outstanding. The Debtor admitted in the 341 meeting in the First

Bankruptcy Case that the Debtor filed for Chapter 11 bankruptcy protection because the Lender

was seeking to foreclose on the Property.

         7.     During the First Bankruptcy Case, and consistent with the Debtor’s practice of

delinquency, the Debtor was routinely delinquent in its monthly adequate protection payments to

the Lender. The Debtor would typically initially default by failing to timely pay, requiring the

Lender to notify the Debtor of the default, which would then prompt the Debtor’s payment at the

final hour of the required cure period, sometimes with post-dated checks or checks that were

dishonored initially for insufficient funds.

         8.     A Plan of Reorganization (the “Plan”) was ultimately confirmed with an effective

date of June 20, 2016. Under the Plan the Lender’s claim was restructured such that the

bondholders forfeited essentially all unpaid interest owing under the Bonds and approximately

32% of the principal amount of the Bonds (the Lender’s secured claim was reduced from a

principal balance of $5,355,000 to $3,665,000). The Plan included detailed procedures for the

Debtor’s compliance with its payment obligations in hopes that the Debtor would perform its

obligations without the expense of the Lender having to constantly compel the Debtor’s

compliance through monthly default notices. The Lender’s consent to the Plan was based upon




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its reliance that the Debtor would punctually fulfill its restructured obligations and these detailed

repayment procedures and obligations.

         9.      But this effort proved unsuccessful. Beginning with its very first Plan payment

due July 1, 2016, the Debtor was delinquent in payment, triggering the Lender to yet again

expend time and money to send a delinquency notice to the Debtor. Consistent with its past

practices, the Debtor would contrive to make the Plan payment at the absolute last moment

before expiration of the cure period. However, the Debtor completely failed to make both the

November 2016 Plan payments and December 2016 Plan payments within the cure periods,

thereby creating a default under the Bonds as modified by the Plan.2

         10.     Separate and apart from its failure to pay timely its Plan payments, the Debtor

also failed to pay timely its insurance premiums on the Lender’s collateral, leaving the Property

at risk of being uninsured. Having received repetitive notices from the Debtor’s insurance

carriers of the Debtor’s payment failures and pending cancellations of insurance coverage

(sometimes under circumstances that the coverage had in fact lapsed), and unable to rely on the

Debtor to maintain full and adequate property insurance coverage over the Lender’s collateral,

the Lender unavoidably incurred an additional $33,871.72 for force placed insurance premiums

for coverage on the Property. The insurance premium paid is also secured by the Mortgage.

After the Lender’s demand upon the Debtor for repayment, the Debtor failed to repay the

insurance premiums, which constituted an additional event of default under the Bonds as

modified by the Plan.

         11.     The Lender also made demand upon the Debtor for the $12,303.19 in unnecessary

legal fees and costs the Lender incurred since confirmation of the Plan and attributable to the


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 On October 3, 2016, the Debtor filed a motion for entry of a final decree concluding the case, and on November
10, 2016, the Court entered a Final Decree closing the case.

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Debtor’s repeated delinquencies. When the Debtor refused to repay these fees and costs, it

constituted yet another event of default under the Bonds as modified by the Plan (together with

the default under the Plan and the Debtor’s default for failure to repay the insurance premiums,

the “Defaults”).

          12.     After notifying the Debtor that as a result of these Defaults, the Lender was

accelerating all the indebtedness due and would be exercising its rights under the Mortgage, the

Lender filed its action to foreclose its Mortgage in the case styled TMI Trust Company, etc., et

al.; Circuit Court, Orange County, Florida; Case No. 2017-CA-2234-0 (the “Second Foreclosure

Case”).      During this time, the Debtor also received several code enforcement notices for

deficiencies in maintaining the Property, which code violations also constitute events of default

under the Mortgage.

          13.     After filing the Second Foreclosure Case, the parties, each represented by counsel,

attended a mediation, and after considerable negotiations the parties entered into a Settlement

Agreement (the “Mediation Agreement”) that provided for a catch-up of missed Plan payments

and a compromise of the other delinquent payment obligations, which was to be paid over time.

A fundamental term of the Mediation Agreement was the provision of a bright-line deadline for

the receipt by the Lender of each subsequent payment, with each payment required to be

received by the Lender no later than 4:00 p.m. on the first day of each month. Because of the

Debtor’s pattern and practice of serial delinquencies and defaults, it was specifically agreed by

the Debtor that there would be no cure or grace period for the Lender’s receipt of payments.

          14.     The Debtor immediately returned to its pattern of making last minute payments,

and on December 1, 2017, the Debtor failed to make its December payment by the 4:00 p.m.

deadline.



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         15.      The Lender then filed the Mediation Agreement, a supporting affidavit of default,

and a joint stipulation for entry of a consent final judgment of foreclosure, all as negotiated in the

Mediation Agreement.

         16.      The court in the Second Foreclosure Case entered the Consent Final Judgment of

Foreclosure, which it later amended to include an amended amount of indebtedness due under

the Bonds (the “Foreclosure Judgment”). A copy of the Foreclosure Judgment is attached as

Exhibit A.

         17.      Pursuant to the Foreclosure Judgment, the foreclosure sale of the Property was

scheduled for March 1, 2018.3

         18.      The day before the scheduled foreclosure sale, on February 28, 2018 (the

“Petition Date”), the Debtor commenced this case by filing a voluntary petition (the “Petition”;

ECF Doc. No. 1) for relief under Chapter 11 of Title 11 of the United States Code (the

“Bankruptcy Code”). The Debtor continues in possession of its properties and is managing its

business as debtor in possession pursuant to 11 U.S.C. §§ 1107(a) and 1108. No trustee,

committee, or examiner has been appointed to date.

         19.      The Lender is essentially the only secured creditor listed on the Debtor’s

schedules.4 The Debtor’s schedules show the Property is subject to approximately $18,000.00 of

code enforcement liens, and that a portion of the Property is subject to approximately $28,000.00

of unpaid ad valorem taxes. See Schedule D (ECF Doc. No. 1).

    III.          Argument


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  The foreclosure sale was originally scheduled for January 31, 2018, but upon the Debtor’s request the Court
rescheduled the sale for March 1, 2018.
4
  The Debtor shows on its Schedule D that an additional creditor, First Baptist Church of Central Florida, allegedly
holds a lien on the Property. However, First Baptist Church of Central Florida, to the extent it remains a creditor of
the Debtor, has no lien on the Property. It had held a lien on a former outparcel of property of the Church located at
1331 North Pine Hills Road, Orlando, Florida, but that parcel was foreclosed upon and sold during the progress of
the First Foreclosure Action with all liens against that outparcel being extinguished.

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                a.      Standard for dismissing a case under Chapter 11

         Pursuant to 11 U.S.C. § 1112(b)(1), “on request of a party in interest, and after notice and

a hearing, the court shall convert a case under this chapter to a case under chapter 7 or dismiss a

case under this chapter, whichever is in the best interest of the creditors and the estate, for cause .

. . .” In this circuit, “[a] case under Chapter 11 may be dismissed for cause pursuant to section

1112 of the Bankruptcy Code if the petition was not filed in good faith.” In re Phoenix

Piccadilly, Ltd., 849 F.2d 1393, 1394 (11th Cir. 1988); see also In re State Street Houses, Inc.,

356 F.3d 1345, 1346-47 (11th Cir. 2004). While there is no specific standard in this circuit for

determining whether a petition was filed in bad faith, courts have identified several factors which

evidence a bad faith filing, including:

                1.     the debtor has only one asset, the real property, to which it does not
                       hold legal title;

                2.     the debtor has few unsecured creditors whose claims are small in
                       relation to the claims of the secured creditors;

                3.     the debtor has few employees;

                4.     the debtor’s property is the subject of a foreclosure action as a result
                       of arrearages on the debt;

                5.     the debtor’s financial problems involve essentially a dispute
                       between the debtor and the secured creditors which can be resolved
                       in the pending foreclosure proceedings; and

                6.     the timing of the debtor’s bankruptcy filing evidences an intent of
                       the debtor to delay or frustrate the legitimate efforts of the secured
                       creditors to enforce their rights.


                                          In re Phoenix Piccadilly, Ltd., 849 F.2d at 1394-
                                          1395; see also In re State Street Houses, Inc., 356
                                          F.3d at 1346-47.




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             This list of factors is not exhaustive and not intended to be rigidly applied. In re State

Street Houses, Inc., 356 F.3d at 1347. Rather, these factors are “appropriate guidelines for

consideration when evaluating whether a chapter 11 petition in a single asset real estate case was

filed in bad faith.” Id. In fact, “the court may consider any factors which evidence ‘an intent to

abuse the judicial process and the purposes of the reorganization provisions.’” In re Phoenix

Piccadilly, Ltd., 849 F.2d at 1394. The above-mentioned factors can assist the court as it must

focus on the debtor’s subjective intentions, and then reach conclusions about the debtor’s intent

from the totality of the circumstances surrounding the filing of the case. See COLLIER              ON

BANKRUPTCY ¶ 1112.07 [1]; see also In re Hammersmith Trust, LLC, 243 B.R. 795, 800 (Bankr.

M.D. Fla. 1999) (“Petition must be filed with honest intent and genuine desire to utilize the

provisions of the Code to reorganize and not merely as a device to serve some sinister or

unworthy purpose and the courts should not and cannot tolerate such misuse of the

reorganization process.”). A creditor need not wait until the debtor proposes a plan or until the

expiration of the period of exclusivity to move to dismiss. In re Natural Land Corp., 825 F.2d

296, 297-98 (11th Cir. 1987).

                   b.     This case should be dismissed for cause because it was not filed in
                          good faith.

         This case should be dismissed for cause because the Debtor filed the Petition in bad faith.

All of the Phoenix Piccadilly factors are present in this case. The Debtor’s bad faith is evidenced

by the following facts: (1) the Debtor essentially has one asset, the Property, and this case is a

“single asset real estate” case as that term is defined in 11 U.S.C. § 101 (51B); (2) the Debtor has

only twelve unsecured creditors, whose claims total $5,200 as compared to the $3,484,244 debt

owed to the Lender; (3) the Debtor has only a handful of employees, the majority of whom are




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part-time musicians and choral directors5; (4) as of the Petition Date, and after years of

cooperation and patience from the Lender, the Foreclosure Judgement had already been entered

and the foreclosure sale scheduled for the following day, evidencing the Debtor’s intent to delay

and frustrate the Lender’s legitimate efforts to enforce its rights; (5) the Debtor’s financial

problems exclusively involve a dispute between the Lender and the Debtor, which dispute is best

resolved (and was scheduled to be resolved) in the Second Foreclosure Action; and (6) the

Debtor has repeatedly failed to adequately insure and maintain the Lender’s collateral.

         Furthermore, the Debtor has no realistic possibility of an effective reorganization because

the Debtor’s previous defaults under the confirmed Plan evidence that it cannot afford to make

payments to the Lender, which now, by virtue of the confirmed Plan in the First Bankruptcy

Case and the Foreclosure Judgment, has a restructured secured claim of only $3,484,244.35. The

last appraisal of the Property known to the Lender was its appraisal performed in connection

with the First Bankruptcy Case, which indicated a fair market value for the Property of

$3,665,000.00. While the Lender is currently slightly over-secured, unpaid insurance premiums,

accruing ad valorem taxes, code enforcement liens, and interest and attorneys’ fees continue to

accrue, leaving the Lender’s claim against collateral, which is the only asset and source of

income in this case, at risk of soon being under-secured. Given its tortured history with the

Debtor and the Debtor’s incessant payment delinquencies and Plan defaults, under no

circumstance would the Lender consider voting to confirm any reorganization plan set forth by

the Debtor.




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  In the 341 meeting conducted in the First Bankruptcy Case, the Debtor admitted that it had no employees, it only
works with six independent contractors, and that it has three officers, all of whom were uncompensated at that point
in time. The Debtor’s Schedule E/F lists eleven creditors who appear to be employees, but excluding the Pastor and
Associate Pastor all appear to be part-time employees.

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                c.     The Debtor’s material default under a confirmed plan and its failure
                       to maintain continuous insurance coverage constitute additional cause
                       for dismissal § 1112(b)(4).

         11 U.S.C. § 1112(b)(4) provides certain non-exclusive examples of “cause” for dismissal

(or conversion) of a bankruptcy case, including “material default by the debtor with respect to a

confirmed plan” and “failure to maintain appropriate insurance that poses a risk to the estate or to

the public.” 11 U.S.C. § 1112(b)(4)(C) and (N).

         Less than six months after confirmation of the Plan, the Debtor materially defaulted

under that Plan. On multiple occasions, beginning in November, 2016, the Debtor failed to make

timely Plan payments to the Lender.        The Debtor’s defaults led the Lender ultimately to

commence the Second Foreclosure Case, during which the Lender and Debtor agreed under the

Mediation Agreement for the Debtor to catch up those delinquent Plan payments. The Debtor

defaulted under that agreement. These serial defaults lead to the inescapable conclusion that the

Debtor has materially defaulted with respect to the confirmed Plan. See, In re Red Door Lounge,

Inc., 559 B.R. 728, 733 (Bankr. D. Mont. 2016) (finding “cause” to exist under 11 U.S.C. §

1112(b)(4)(N) because the debtor, having not made monthly plan payments due to its creditor

pursuant to a prior Chapter 11 confirmed plan, was in “material default” “with respect to a

confirmed plan.”).

         Additionally, the Debtor has repeatedly failed to protect the Lender’s interest in the

Property by, among other things, failing to maintain adequate insurance on the Property and

allowing approximately $18,000.00 in code enforcement liens to attach to the Property as a result

of its disrepair. Such failures present “cause” pursuant to which this Court “shall” dismiss (or

convert) the Debtor’s bankruptcy case under 11 U.S.C. § 1112. See In re Sanders, 2010 WL

5136192 at *5 (Bankr. D.S.C. Apr. 29, 2010) (“cause” exists under 11 U.S.C. § 1112(b)(4)(C)



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because “the debtor testified that he has no insurance on the real property but relies on the

secured creditors maintaining force placed insurance. Such insurance generally protects the

interest of lienholders but not the interests of the debtor or the bankruptcy estate.”).

                d.      Sanctions should be imposed against the Debtor.

         The power to sanction litigants is within this Court’s inherent and statutory authority.

See Chambers v. NASCO, Inc., 501 U.S. 32 (1991); 11 U.S.C. § 105(a). Sanctions can be

assessed against a party when it has acted in bad faith, vexatiously, or for oppressive reasons, has

delayed or disrupted litigation, or has taken actions in the litigation for an improper purpose.

Chambers, 501 U.S. at 45-46. The Bankruptcy Code expressly grants the Court the independent

statutory authority to “carry out the provisions” of the Bankruptcy Code through “any order,

process, or judgment that is necessary and appropriate.” 11 U.S.C. § 105(a). Moreover, when a

bankruptcy petition is dismissed as a bad faith filing, sanctions can be awarded under the court’s

inherent authority. See, e.g., In re Singer Furniture Acquisition Corp., 261 B.R. 745 (Bankr.

M.D. Fla. 2001).

         In this case, it is clear from the indisputable facts that the Debtor acted improperly and in

bad faith in filing its Petition and commencing this Chapter 11 bankruptcy case. After nearly a

decade of litigation, on the eve of the foreclosure sale and with no other delay tactics available to

it, the Debtor improperly filed this case to avoid an adverse result—losing title to the Property at

a foreclosure sale. The Debtor, having already fought the foreclosure of the Property at every

opportunity despite the Lender’s attempts to work with the Debtor, is using its Petition merely to

maximize its possession of the Property for the sole purpose of frustrating the Lender’s efforts to

foreclose its Mortgage and unduly burden the Lender with further frivolous litigation in another

forum. This Court should not allow the bankruptcy process to be used as an avenue to frustrate



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and delay final and complete adjudication of the Lender’s in rem relief, to which the Debtor has

absolutely no defense. Given the Debtor’s bad faith filing for the sole purpose of frustrating and

delaying the foreclosure sale of the Property, an award of sanctions against the Debtor is

appropriate under the Court’s inherent and statutory powers. See In re Little Rest Twelve, Inc.;

Case No. 11-31773-AJC (Bankr. S.D. Fla. March 16, 2015)(J. Cristol) (Awarding sanctions for

bad faith filing of a voluntary petition under Chapter 7 filed for the improper purpose of delaying

adjudication of pending litigation in another forum).

         WHEREFORE, TMI Trust Company, a Texas trust company, as successor by merger to

Reliance Trust Company, a Georgia bank and trust company, in its capacity as Trustee for the

First Mortgage Bonds, 2007 Series, dated November 28, 2007, and OSK I, LLC, as the successor

in interest to San Joaquin Bank, formerly a California corporation, respectfully request the Court

(i) dismiss this case as a bad faith filing; (ii) order that any future bankruptcy filing shall not

operate as a stay against the Lender and the Lender’s in rem rights in the Property, including the

right to complete the foreclosure sale on the Property in the Second Foreclosure Case; (iii) enjoin

the Debtor from filing for further relief under the Bankruptcy Code for a period of no less than

180 days; (iv) award appropriate sanctions against the Debtor; and (v) grant such other relief as

the Court deems just and proper.


         Dated: March 16, 2018               AKERMAN LLP



                                      By: /s/John B. Macdonald
                                           John B. Macdonald
                                           Florida Bar No. 230340
                                           Email: john.macdonald@akerman.com
                                           Amy M. Leitch
                                           Florida Bar No. 90112
                                           Email: amy.leitch@akerman.com
                                           50 North Laura Street, Suite 3100

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                                       Jacksonville, Florida 32202
                                       Telephone: (904) 798-3700
                                       Facsimile: (904) 798-3730

                                          and

                                       Jules S. Cohen
                                       Florida Bar No. 014520
                                       Email: jules.cohen@akerman.com
                                       Post Office Box 231
                                       Orlando, Florida 32802-0231
                                       Telephone: (407) 843-7860
                                       Facsimile: (407) 843-6610

                                      Attorneys for TMI TRUST COMPANY and OSK I, LLC




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was furnished this 16th day of March,
2018, either by electronic notification or U.S. mail, postage prepaid and properly addressed, to:

Philadelphia Haitian Baptist Church of Orlando, Inc.    James H. Monroe, Esq.
PO Box 580812                                           Cynthia E. Lewis, Esq.
Orlando, FL 32858                                       James H. Monroe, P.A.
                                                        PO Box 540163
                                                        Orlando, FL 32854 0163

Elena L. Escamilla
Office of the United States Trustee
400 W. Washington Street, Suite 1100
Orlando, FL 32801

                                                    /s/ John B. Macdonald
                                                    Attorney




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                                                               IN TttE CIRCW COURT,NINTH
                                                               JLVICIAL CIRCUIT,IN AND FOR
                                                               ORANGE COUNIY,FLORIDA
                                                               CASE NO.:2017-CA-2243
                                                               DIVISION:43

           TMI TRUST         COMPANY, a Texas trust
           company, and OSK    I,LLC, a Minnesota limited
           liability company,

                           Plainti]L,


           v.

           PHILADELPHIA HAITIAN            BAPTIST
           CHLJRCH OF ORLANDO, INC., a Florida
           non-profit corporation, BRANCH BANKING
           AND TRUST COMPANY, a North Carolina
           banking corporation, REGIONS BANK, an
           Alabama banking corporation, LANDMARK
           AMERICA II, INC., an Ohio corporation, and
           FIRST BAPTIST CHURCH OF CENTRAL
           FLORIDA, INC., a Florida non-profit
           corporation,

                           Defendants.

                          AMEI\DED CONSENT FINAL JTIDGMENT OF FORECLOST]RE

                   TIIIS ACTION came before the Court on the consent of Plaintiffs and Defendant
           Philadelphia Haitian Baptist Church of Orlando, loc., a Florida non-profit corporation (the
           "Borrower"). Due and legal service of process has been made upon the Borrower and the
           remaining Defendants, and the Clerk has defaulted the remaining Defendants who have not been
           dismissed. The Court has jurisdiction of the parties in this cause and the subject matter thereof.
           On the evidence presented, and finding Plaintiffs have filed a verified motion or an affidavit of
           default in this Court and provided written notice thereof by electronic transmission to Borrower
           and its counsel, with such verified motion and/or affrdavit having specifically described the
           default under the Settlement Agteement and Release between the parties, on upon the consent of
           Borrower, it is

                   ORDERED AI{D ADJI.IDGED:




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                                                    Exhibit A
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     Amounts Due. Plaintiffs, TMI Trust Compmy, a Texas trust company, as successor by
     merger to Reliance Trust Compily, a Georgia bank and trust company, in its capaciry as
     Trustee for the First Mortgage Bonds, 2007 Series, dated November 28, 2007, and OSK
     L LLC, as the successor in interest to San Joaquin Bank, formerly a California
     corporation (together, the "Plaintiffs"), whose address is TMI Trust Company, as Trustee,
     and OSK I, LLC c/o Mark Young, 1100 Abernathy Road, Suite 480, Atlant4 Georgia
     30328, are due:

      Principal due on the Note and Trust Indenture secured by        the   $3.665.000.00
      mortgage foreclosed:
      lnterest due through 613012017:                                     $           0.00
      Per diem interest of   $538.48 $rom07l0r/2017 through   tztltzot7\: $     80.706.48
      Force-Placed Insurance Premium:                                     $     39.315.24
      Bond lndenture Default Costs:                                         $--2932U!-
      Attorneys'Fees & Court Costs                                          S   67.734.03
      Sinkine Fund Credit::                                                 S(397.839.54)

      TOTAL SIIIM:                                                          $a18424435.
     that shall bear interest at the prevailing statutory interest rate of 7%o per annum,
     subject to future interest rate adjustments in accordance with Section 55.03,
     Florida Statutes, until the judgment is paid in fu1l.

2.   Lien on Property. Plaintiffs hold a lien for the total sum specified in Paragraph t herein,
     which lien is superior to all claims or estates of Defendants, on the real property located
     in Orange County, Florida, described in the attached Exhibit "1" (the "Land") and all
     property in Orange County, Florida, described in the attached Exhibit "2" (together with
     the Land, the "Property").

3.   Sale of Property. If the total sum set forth in Paragraph 1 above with interest at the rate
     prescribed by law and all costs of this action accruing subsequent to this judgment are not
     paid, the Clerk of this Court shall sell the Property at public sale on January 31,2018, to
     the highest bidder ior cash except as prescribed in paragraph 4, in accordance with
     Section 45.031, Florida Statutes, by electronic sale beginning at 11:00 a.m. on the
     prescribed date at:

                             www.myorangeclerk.real foreclose. com

4.   Costs. Plaintiffs shall advance all subsequent costs of this action and shall be reimbursed
     for them by the Clerk if Plaintiffs are not the purchaser of the Property for sale, provided,
     however, that the purchaser of the Properly for sale shall be responsible for the
     documentary stamps payable on the certificate of title. If Plaintiffs are the purchaser, the
     Clerk shall credit Plaintiffs'bid with the total sum set forth in Paragraph 1 above together
     with interest and costs accruing subsequent to this judgment, or such part of it as is
     necessary to pay the bid in full.


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5.   Distribution of Proceeds. On flling the certiflcate of title the Clerk shall distribute the
                                                                                              l costs;
     proceeds of the sale,so far as they are sufEcient by paying:flrst,all of Plaintil王      ζ
     second, doculnentary stamps afFlxed to the certiflcate; third, Plaintiffsi attomeysl fees;
     fourth, the total sum due to Plaintiffs, less the itelns pald, plus interest at the rate
     prescribed in paragraph l ヒsln this date to the date of the sale; and by retaining any
     remaining amount pending further order ofthis Court.

6.   Right of Redemption/Right of Possessiono On flling the certiflcate of sale,Defendants
     and all persons claiining under or against Defendants since the flling of the notice of′     Js

     ρθηル ぉ shall be foreclosed of all estate or claim in the Propett and Defendanぱ         right of
     redemption as prescribed by Section 45.0315, Flo五 da Statutes, shall be tellllinated,
     except as to claims or rights under Chapter 718 or Chapter 720,Florida Statutes,if any。
     Upon the flling ofthe certiflcate oftitle,the person nalned on the certiflcate oftitle shall
     be let into possession ofthe Prope中     .




7.   Jurisdictioll lRetainedo Jurisdiction ofthis action is retained to enter i■    rther Orders that
     are proper,including,but not lllnited to,deflciency judttentS,W五 ts of possession and
     supplemental awards of receiver― related fees and expenses, orders of re¨ foreclosure of
     any junior interests omi■ ed iom thisjud〔 興lett an award of additional fees or costs to
     Plaintiff should the sale of the Propett be delayed by reason of llrther proceedings
     herein,or by reason ofs● y underthe provisions ofthe Bttptcy Code,Title l l,United
     States Code。

8.   Assignment.PlaintiiR shall be entitled to assign this foreclosurejud〔 要lent,including the
     underlying foreclosure sale bid五 ghts,to any third― pany withOut further leave ofcourt.

     IF TⅢ S      PROPERTY IS SOLD AT PUBLIC AUCT10N,THERE MAY BE
     ADDIT10NAL MONEY FROM TIIE SALE AFrER PAYPIENT OF PERSONS
     Ⅷ    O ARE ENTITLED TO BE PAID FROM THE SALE PROCEEDS
     PURSUANT TO THIS FINAL JIDGM田                   画     .




     IF YOU ARE A SUBORDINATE LIENHOLDER CLAIMING A RIGHT TO
     FluS REMAINING AFrER THE SALE,YOU MUST FILE A CLAIM WITⅡ
     TIIE CLERK NO LATER THAN SⅨ TY(60)DAYS AFrER THE SALE.IF YOU
     FAIL TO FILE A CLAIPI, YOU WILL NOT BE ENTITLED TO ANY
     REMAINING FInS.
     DOtt AND ODEttD江                     Oange C呻             ,Π       ¨      面   S/ダ           yJ
                                                                    “
                                ,2017.
                                                                                          `ぬ

                                                         ircuit Court Judge




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SERヽ ■CE LIST:

AKERMAN LLP
John Bo NIIacdonald,E sq.
Primary EmaiLjohn.macdonald@akerlnanocom
Secondary Email:maggie.hearon@akeman.com
Amy M.Lcitch,Esq.
Primary email:amy.lehch@akerlnanocom
Secondav email:ann.lambe■ @akeman.com
50 North Laura Street,Suite 3100
Jacksonville,FL 32202
Иrra"りsヵ rPル 加′   嚇 ,]西 Z″ Sr      Cο η   αη tt αηグοSKム ιZC

PARKER&ASSOCIATES,P.A.
Ho Clay Parker,Esq.
108 Hilicrest Strect
Orlando,Florida 32801
Primary Email:hclay@hclayparker.com
Secondary Email:eiL@hClaparkerocom
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∠″            PttJ麟 ル ″あJα   肋 ′
                               ′″ηB″ ′
                                     お′C力 κ力げ θrJaη あ ,ル c.
                                         “
Arvind NIlahendru,Esq.
5703 Red Bug Lake Rd#284
Winter Springs FL 32708
amtrustee@騨 五 Com 1・



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                              EXHIBIT ''1''

    800 N Pine Hills Road and 5017 Deauville Drive:

    Lot   l,
           Block K, Pine Hills Subdivision Number 8, as recorded in Plat
    Book "T", pages 68 and 69, Public Records of Orange County, Florida.
    (Less begin at the Northwesterly corner of said Lot 1, run thence North 89
    degrees 38' 50" East along the North line of said Lot 1, 35 feet; thence
    South 57 degrees 12'20" West 41.47 feet to the West line of said Lot 1,
    thence North 0 degrees 2l' 10" West along the West line of said Lot 1,
    22.25 feet to the Point of Beginning). All said lands lying and being in
    Orange County, Florida.

    AND

    Lots 2 through 7, Block J, PINE HILLS STIBDMSION NO. 8 according
    to the plat thereof recorded in Plat Book T, Pages 68 and 69, Public
    Records of Orange County, Florida.

    AND

    Lots 2 through 10, Block D, PINE HILLS SLIBDIVISION NO.                I
    according to the plat thereof as recorded in Plat Book R, page70, Public
    Records of Orange County, Florida.




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                                           EXHIBIT ''2''

(a) All  buildings, structures and improvements of every nature whatsoever now or hereafter
situated on the Land, and all fixtures, machinery, equipment, building materials, appliances and
goods ofevery nature now or hereafter located on or upon, or intended to be used in connection
with, the Land (or the leasehold estate in the event the Land is on a leasehold) or the
improvements thereon, including, but not by way of limitation, those for the purposes of
supplying or distributing heating, cooling, electricity, gas, water, air and light; and all elevators
and related machinery and equipment; all plumbing; and all personal properry and fixtures of
every kind and character now or at any time hereafter located in or upon the Land or the
improvements thereon, or which may now or hereafter be used or obtained in connection
therewith, including, without limitation, fixtures, machinery, equipment appliances, vehicles
(excluding Debtor's personal automobiles, if any), building supplies and materials, books and
records, chattels, inventory, accounts, farm products, consumer goods, general intangibles and
personal property of every kind and nature whatsoever now or hereafter owned by Debtor and
located in, on or about, or used or intended to be used with or in connection with the use,
operation or enjoyment of the Land or any improvements thereon, including all extensions,
additions, improvements, betterments, after-acquired property, renewals, replacements and
substitutions, or proceeds from a permitted sale of any of the foregoing, and all the right, title and
interest of Debtor in any such fixtures, machinery, equipment appliances, vehicles and personal
property subject to or covered by any prior security agreement, conditional sales contract, chattel
mortgage or similar lien or claim, together with the benefit of any deposits or payments now or
hereafter made by Debtor or on behalf of Debtor, all trade narnes, trademarks, service marks,
logos and goodwill related thereto which in any way now or hereafter belong, relate or appertain
to the Land or any improvements thereon or any part thereof or are now or hereafter acquired by
Debtor; and all inventory, accounts, chattel paper, documents, equipment fixtures, farm
products, consumer goods and general intangibles constituting proceeds acquired with cash
proceeds of any of the properfy described herein, and all other interests of every kind and
character in all of the real, personal, intangible and mixed properties described herein which
Debtor may now own or at any time hereafter acquire, all of which are hereby declared and shall
be deemed to be fixtures and accessions to the Land and a part of the Land as between the parties
hereto and all persons claiming by, through or under them.

(b) All of the interest of Debtor in all easements, rights-of-way, licenses, operating agreements,
strips and gores of land, vaults, streets, wa)is, alleys, passages, sewer rights, waters, water
courses, water rights and powers, oil and ga-s and other minerals, flowers, shrubs, crops, trees,
timber and other emblements now or hereafter located on the Land or under or above the same or
any part or parcel thereof, and all estates, rights, titles, interests, privileges, liberties, tenements,
hereditaments and appurtenances, reversion and reversions, remainder and remainders,
whatsoever, in any way belonging, relating or appertaining to the Land or any part thereof, or
which hereafter shall in any way belong, relate or be appurtenant thereto, whether now owned or
hereafter acquired by Debtor.


(c) All income (including but not limited to, all revenues, pledges, income, gifts, donations and
offerings from whatever source owned by Debtor), rents, issues, royalties, profits, revenues and
other benefits of the Land from time to time accruing, all payments under leases or tenancies,

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proceeds of insurance, condemnation awards and payments and all payments on account of oil
and gas and other mineral leases, working interests, production pa).rnents, royalties, overriding
royalties, rents, delay rents, operating interests, participating interests and other such
entitlements, and all the estate, right, title, interest, property, possession, claim and demand
whatsoever at law, as well as in equity, of Debtor of, in and to the same (hereinafter collectively
referred to as the "Revenues"); reserving only the right to Debtor to collect the Revenues      as
provided in the Deed And Agreement executed by Debtor in favor of Secured Party.

(d) All construction or development contracts, subcontracts, architectural agteements, labor,
material and payment bonds, and plans and specifications relating to the construction of
improvements on the Land including, without limitation (i) any engineering or architectural
agreements entered into with respect to the design and other engineering or architectural
services; (ii) the plans and specifications for the construction of said improvements prepared by
any engineer or architect; and (iii) any agreements entered into with contractors, suppliers,
materialmen or laborers with respect to construction of improvements on the Land.

(e) If applicable,  any and all management contracts, agreements, or other correspondence
entered   into by and between Debtor and third parties for the management of the collateral
secured hereby.

(D   Together with any and all additional items of personal property, furnishings, fixtures,
equipment, furniture, trade fixtures, and other items of property not heretofore referenced above,
including any and all musical instruments, church pews. chairs, pulpits, podiums, and all other
items used in connection with the Issuer and Issuer's functions.




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